

Ringel v Rogosnitzky (2021 NY Slip Op 03268)





Ringel v Rogosnitzky


2021 NY Slip Op 03268


Decided on May 20, 2021


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: May 20, 2021

Before: Acosta, P.J., Kapnick, Webber, Kennedy, JJ. 


Index No. 311906/07 Appeal No. 13880N Case No. 2020-04940 

[*1]Chana Ringel, Plaintiff-Respondent,
vBinyomin Rogosnitzky Also Known as Benny Rogosnitzky, Defendant-Appellant.


J. Douglas Barics, Commack, for appellant.
Koffsky Schwalb LLC, New York (Efrem Schwalb of counsel), for respondent.



Order, Supreme Court, New York County (Kelly O'Neill Levy, J.), entered on or about September 30, 2020, which, to the extent appealed from as limited by the briefs, summarily denied defendant's motion to modify custody and his parenting schedule and to appoint a forensic evaluator, unanimously affirmed, without costs.
The court was not required to hold a full evidentiary hearing before deciding defendant's motion (see Matter of Antoine D. v Kyla Monique P., 168 AD3d 476 [1st Dept 2019], lv denied 32 NY3d 917 [2019]). The court acquired sufficient information to render an informed decision about the children's best interests during the multiple appearances on the motion, and defendant made no showing that would have affected the disposition of his motion. Defendant also failed to make a showing that modification
of the 10-year-old custody order was in the children's best interests (see Matter of Yvette F. v Corey J.G., 177 AD3d 549 [1st Dept 2019]).
Defendant's remaining contentions are unavailing.
THIS CONSTITUTES THE DECISION AND ORDER
OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: May 20, 2021








